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                                         CASE NO. 23-2194
                                      _______________________
          In the United States Court of Appeals for the Fourth Circuit
                                ________________________
                           GENBIOPRO, INC., Plaintiff-Appellant
                                              v.
         KRISTINA RAYNES, in her official capacity as Prosecuting Attorney of Putnam
         County; PATRICK MORRISEY, in his official capacity as Attorney General of
                            West Virginia, Defendants-Appellees
                                             and
                         MARK A. SORSAIA, in his official capacity
                    as Prosecuting Attorney of Putnam County, Defendant
                                ________________________
        On Appeal from the U.S. District Court for Southern District of West Virginia at Huntington,
        Honorable Robert C. Chambers, U.S. District Court Judge, Civil Action No. 3:23-cv-00058
                                ______________________
        BRIEF OF AMICI CURIAE ADVANCING AMERICAN FREEDOM, INC.; AMERICAN
        VALUES; AMERICANS UNITED FOR LIFE; ANGLICANS FOR LIFE; BOB CARLSTROM,
        PRESIDENT, REBECCA WEBBER, CEO, ASSOCIATION FOR MATURE AMERICAN
        CITIZENS; CENTER FOR POLITICAL RENEWAL; CENTER FOR URBAN RENEWAL AND
        EDUCATION (CURE); CHRISTIAN LAW ASSOCIATION; CHRISTIAN MEDICAL &
        DENTAL ASSOCIATIONS; EAGLE FORUM; FAMILY COUNCIL IN ARKANSAS; CHARLIE
        GEROW; GLOBAL LIBERTY ALLIANCE; INTERNATIONAL CONFERENCE OF
        EVANGELICAL CHAPLAIN ENDORSERS; TIM JONES, FMR. SPEAKER, MISSOURI
        HOUSE, CHAIRMAN, MISSOURI CENTER-RIGHT COALITION; LOUISIANA FAMILY
        FORUM; MEN AND WOMEN FOR A REPRESENTATIVE DEMOCRACY IN AMERICA, INC.;
        MEN FOR LIFE; NATIONAL CENTER FOR PUBLIC POLICY RESEARCH; NATIONAL
        RELIGIOUS BROADCASTERS; NEW JERSEY FAMILY FOUNDATION; NEW JERSEY
        FAMILY POLICY CENTER; PENNSYLVANIA EAGLE FORUM; PROJECT 21 BLACK
        LEADERSHIP NETWORK; PRO-LIFE WISCONSIN; RIO GRANDE FOUNDATION;
        SETTING THINGS RIGHT; 60 PLUS ASSOCIATION; STUDENTS FOR LIFE OF AMERICA;
        THE CHRISTIAN LAW ASSOCIATION; THE FAMILY FOUNDATION (VIRGINIA); THE
        JUSTICE FOUNDATION; TRADITION, FAMILY, PROPERTY, INC.; WOMEN FOR
        DEMOCRACY IN AMERICA, INC.; WISCONSIN FAMILY ACTION INSTITUTE; AND
           YOUNG AMERICA’S FOUNDATION IN SUPPORT OF APPELLEE AND AFFIRMANCE
                               ________________________
                                         J. MARC WHEAT
                                           Counsel of Record
                                         Timothy Harper (Admitted in DC)
                                         ADVANCING AMERICAN FREEDOM, INC.
                                         801 Pennsylvania Avenue, N.W.
                                         Washington, D.C. 20004
                                         (202) 780-4848
                                         MWheat@advancingamericanfreedom.com
                                         Counsel for Amici Curiae
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                   RULE 26.1 CORPORATE DISCLOSURE STATEMENT

           The amici curiae Advancing American Freedom, Inc.; American Values;

        Americans United for Life; Anglicans for Life; Bob Carlstrom, President, Rebecca

        Webber, CEO, Association for Mature American Citizens; Center for Political

        Renewal; Center for Urban Renewal and Education (CURE); Christian Law

        Association; Christian Medical & Dental Associations; Eagle Forum; Family

        Council in Arkansas; Charlie Gerow; Global Liberty Alliance; International

        Conference of Evangelical Chaplain Endorsers; Tim Jones, Fmr. Speaker, Missouri

        House, Chairman, Missouri Center-Right Coalition; Louisiana Family Forum; Men

        and Women for a Representative Democracy in America, Inc.; Men for Life;

        National Center for Public Policy Research; National Religious Broadcasters; New

        Jersey Family Foundation; New Jersey Family Policy Center; Pennsylvania Eagle

        Forum; Project 21 Black Leadership Network; Pro-Life Wisconsin; Rio Grande

        Foundation; Setting Things Right; 60 Plus Association; Students for Life of

        America; The Christian Law Association; The Family Foundation (Virginia); The

        Justice Foundation; Tradition, Family, Property, Inc.; Women for Democracy in

        America, Inc.; Wisconsin Family Action Institute; and Young America’s Foundation

        are nonprofit corporations. They do not issue stock, and are neither owned by nor

        are the owners of any other corporate entity, in part or in whole. They have no parent

        companies, subsidiaries, affiliates, or members that have issued shares or debt


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        securities to the public. The corporations are operated by volunteer boards of

        directors.




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                           STATEMENT OF INTEREST OF AMICI

              Advancing American Freedom (AAF) is a nonprofit organization that

        promotes and defends policies that elevate traditional American values, including

        the uniquely American idea that all people are created equal and endowed by their

        Creator with unalienable rights to life, liberty, and the pursuit of happiness.1 AAF

        “will continue to serve as a beacon for conservative ideas, a reminder to all branches

        of government of their responsibilities to the nation” 2 and believes that every

        person, including those still in the womb, has a fundamental right to life. When

        governments fail to accomplish their central purpose, the protection of fundamental

        rights, the freedom described in the Declaration of Independence and ensured in the

        Constitution is undermined.

              Amici American Values; Americans United for Life; Anglicans for Life; Bob

        Carlstrom, President, Rebecca Webber, CEO, Association for Mature American

        Citizens; Center for Political Renewal; Center for Urban Renewal and Education

        (CURE); Christian Law Association; Christian Medical & Dental Associations;

        Eagle Forum; Family Council in Arkansas; Charlie Gerow; Global Liberty Alliance;


        1
          No counsel for a party authored this brief in whole or in part. No person other than
        Amicus Curiae and its counsel made any monetary contribution intended to fund the
        preparation or submission of this brief. All parties have consented to the filing of
        this amicus brief.
        2
         Edwin J. Feulner, Jr, Conservatives Stalk the House: The Story of the Republican
        Study Committee, 212 (Green Hill Publishers, Inc. 1983).

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        International Conference of Evangelical Chaplain Endorsers; Tim Jones, Fmr.

        Speaker, Missouri House, Chairman, Missouri Center-Right Coalition; Louisiana

        Family Forum; Men and Women for a Representative Democracy in America, Inc.;

        Men for Life; National Center for Public Policy Research; National Religious

        Broadcasters; New Jersey Family Foundation; New Jersey Family Policy Center;

        Pennsylvania Eagle Forum; Project 21 Black Leadership Network; Pro-Life

        Wisconsin; Rio Grande Foundation; Setting Things Right; 60 Plus Association;

        Students for Life of America; The Family Foundation (Virginia); The Justice

        Foundation; Tradition, Family, Property, Inc.; Women for Democracy in America,

        Inc.; Wisconsin Family Action Institute; and Young America’s Foundation believe

        that States have the authority to protect the right to life of the unborn where the

        federal government fails to ensure the protection of that right.

                 INTRODUCTION AND SUMMARY OF THE ARGUMENT

              The fundamental purpose of government is to protect the rights of the people.

        As the Declaration of Independence explains, “Governments are instituted among

        Men” to “secure” the unalienable rights of the people “among [which] are Life,

        Liberty, and the pursuit of Happiness.” The Declaration of Independence para. 2

        (U.S. 1776). West Virginia’s Unborn Child Protection Act (UCPA) seeks to protect

        the most fundamental rights of its most vulnerable people, a right of which the




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        federal government has authorized the destruction, contrary to its very reason for

        being.

                 Under Subpart H, the Food and Drug Administration (FDA) can approve

        drugs that “provide a meaningful therapeutic benefit to patients over existing

        treatments” for “serious or life-threatening illnesses.” 21 C.F.R. § 314.500. The Food

        and Drug Administration Amendments Act of 2007 (FDAAA) required the FDA to

        reapprove drugs previously approved under the Subpart H approval process through

        the new Risk Evaluation and Mitigation Strategy (REMS) process. See 21 U.S.C.

        §§ 355-1(a), (g)(4)(B), (h). Mifepristone 3 producer GenBioPro argues that UCPA is

        preempted by the FDA’s REMS for mifepristone which, as required under the

        FDAAA, consider availability as a factor in the REMS approval process. 4

        3
          Mifepristone “terminates a pregnancy by blocking progesterone receptors in the
        uterus, a hormone necessary for the maintenance of a pregnancy.” The FDA and RU-
        486: Lowering the Standard for Women’s Health, House of Representatives
        Government Reform Committee; Subcommittee on Criminal Justice, Drug Policy,
        and Human Resources at 4 (Oct. 2006) [hereinafter Congressional Report], available
        at     https://advancingamericanfreedom.com/mifepristone-resource-congressional-
        staff-report-the-fda-and-ru-486-lowering-the-standard-for-womens-health/.
        4
          One potentially major consequence of GenBioPro’s argument appears to be that
        States would be unable to engage in regulation of FDA-approved drugs like opioids
        that are nonetheless causing significant problems within their States. If FDA
        regulation of a drug preempts state regulation of that drug, States like West Virginia
        and others ravaged by opioid abuse may be limited in their ability to respond. The
        need for such regulation is starkly demonstrated by a West Virginia city’s case
        against opioid manufacturers currently awaiting a West Virginia Supreme Court
        decision about state substantive law, Brendan Pierson, 4th Circuit Sends West
        Virginia City’s Opioid Case to State’s Top Court, Reuters (Mar. 18, 2024, 2:39 PM)
        https://www.reuters.com/legal/litigation/4th-circuit-sends-west-virginia-citys-
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              The major questions doctrine provides a useful frame through which to

        understand GenBioPro’s preemption argument in this case. Under the major

        questions doctrine, “administrative agencies must be able to point to clear

        congressional authorization when they claim the power to make decisions of vast

        economic and political significance.” West Virginia v. EPA, 142 S. Ct. 2587, 2616

        (2022) (Gorsuch, J., concurring). Here, GenBioPro claims that the FDA was granted

        significant regulatory authority to settle a major political debate despite a lack of any

        clear congressional statement to support that claim. If the FDA were granted and had

        exercised that power, that exercise would likely raise significant constitutional

        issues. Such an interpretation should be looked upon with skepticism.

              Finally, abortion, and particularly chemical abortion, destroys the right to life

        of the unborn, and thus destroys that person’s ability ever to exercise any of their

        other rights. Further, while abortion always poses a danger to the woman having the

        abortion, chemical abortion drugs are particularly dangerous. The UCPA protects

        both the rights of the unborn and the wellbeing of women by prohibiting abortions

        in most cases. Where the federal government, via the FDA, has authorized a drug

        that destroys the rights of Americans, States have an obligation to step in and protect


        opioid-case-states-top-court-2024-03-18/, and the state’s settlement with CVS and
        Walmart for opioid distribution in the state. The Associated Press, CVS, Walmart
        Reach $147.5M Opioid Settlement with West Virginia, NBC News (Sept. 21, 2022,
        7:34 AM) https://www.nbcnews.com/news/us-news/cvs-walmart-reach-1475m-
        opioid-settlement-west-virginia-rcna48691.

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        those rights. Just as northern States during the era of American slavery sought to

        protect the rights of escaped slaves through laws that prevented their removal, West

        Virginia here seeks to prevent the violation of the rights of the unborn. GenBioPro

        would thwart that effort and allow the continued destruction of unborn life for its

        commercial gain.

                                          ARGUMENT

        I.    States Have the Authority and the Responsibility to Protect the
              Fundamental Rights of the People, Including Those of the Unborn.

              A. The people delegate certain limited powers to government which is
                 “instituted among men” to secure the rights of the governed.

              American government, and all just government, depends on the fundamental

        idea, expressed by the Declaration of Independence, that “all humans are created in

        the image of God and therefore of inherent worth.” Obergefell v. Hodges, 576 U.S.

        644, 735 (2015) (Thomas, J., dissenting). Because of that inherent worth, the

        Founders understood that “all men are created equal, that they are endowed by their

        Creator with certain unalienable Rights, [and] that among these are Life, Liberty,

        and the pursuit of Happiness.” The Declaration of Independence para. 2 (U.S. 1776).

        However, these rights, though always real, are not always secure.

              The Founder’s view of government “was rooted in a general skepticism

        regarding the fallibility of human nature.” See INS v. Chadha, 462 U.S. 919, 949

        (1983). In a state of anarchy, the rights of the people are real, but are subject to


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        violation by the strong. Under a government, the rights of the people are real but are

        subject to the whims of those exercising government power. According to

        Montesquieu, “constant experience shows us that every man invested with power is

        apt to abuse it, and to carry his authority as far as it will go.” 5 In thousands of years

        of recorded human history, that nature has not changed.6

                Thus, government is constituted to protect the rights of the people, rights

        which pre-exist government. As the Declaration explains, “Governments are

        instituted among Men” to secure the unalienable rights of the people, and “deriv[e]

        their just powers from the consent of the governed.” The Declaration of

        Independence para. 2 (U.S. 1776). The Tenth Amendment expressly reserves the

        powers not granted to the federal government to the States and to the people. U.S.

        Const. amend X. The Constitution grants only limited powers to the federal

        government because the Founders knew that government, just as much as anarchy,

        can bring about the destruction of the rights of the people. One of those rights, a right

        the continuation of which is a necessary precondition for the exercise of all others,

        is the right to life.


        5
            Montesquieu, Spirit of the Laws, § 11.4 (Thomas Nugent trans. 1752) (1748).
        6
          See Jefferson, supra note 3 at 130 (“Human nature is the same on every side of the
        Atlantic, and will be alike influenced by the same causes. The time to guard against
        corruption and tyranny is before they shall have gotten hold on us. It is better to keep
        the wolf out of the fold, than to trust to drawing his teeth and talons after he shall
        have entered.”).

                                                    6
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              B. The right to life of the unborn is both fundamental to the freedom of the
                 unborn person and is well established in Anglo-American law.

              The right to life, and the recognition that the unborn possess that right, are

        deeply rooted in American and English law. As noted above, the Declaration of

        Independence lists the right to life as one of the fundamental inalienable rights

        governments exist to secure. For centuries, American and English law recognized

        that the right to life of the unborn deserved legal protection. For example, English

        treatises said that abortion was a crime, and “English cases dating all the way back

        to the 13th century corroborate the treatises’ statements that abortion was a crime.”

        Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2228, 2249 (2022)

        (citing J. Dellapenna, Dispelling the Myths of Abortion History 126 and n. 16, 134-

        52, 188-94, and nn. 84-86 (2006); J. Keown, Abortion, Doctors and the Law, 3-12

        (1988)). In America, according to the Supreme Court, “the historical record is

        similar.” Id. at 2251.

              Evidence from the colonies shows that abortion was a crime. Id. In one 1652

        case, the court said that a man “Murtherously endeavoured to destroy or Murther the

        Child by him begotten in the womb.” Id. at 2251 (internal quotation marks omitted)

        (quoting Proprietary v. Mitchell, 10 Md. Archives 80, 183 (1652) (W. Browne ed.

        1891)). Further, “by the 19th century, courts frequently explained that the common

        law made abortion of a quick child a crime.” Id. (citing Smith v. Gaffard, 31 Ala. 45,

        51 (1857); Smith v. State, 33 Me. 48, 55 (1851); State v. Cooper, 22 N.J.L. 52, 52-
                                                  7
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        55 (1894); Commonwealth v. Parker, 50 Mass. 263, 264-68 (1845)). That description

        was consistent with the law of the States at the time, “the vast majority of [which]

        enacted statutes criminalizing abortion at all stages of pregnancy.” Id. at 2252. “By

        1868, the year when the Fourteenth Amendment was ratified, three-quarters of the

        States, 28 out of 37, had enacted statutes making abortion a crime even if it was

        performed before quickening.” Id. at 2253 (footnote omitted). Of the other nine

        States, eight had criminalized abortion at all stages by 1910. Id. The territories were

        similarly restrictive. Id. “By the end of the 1950s . . . statutes in all but four States

        and the District of Columbia prohibited abortion ‘however and whenever performed,

        unless done to save or preserve the life of the mother.’” Id. (quoting Roe v. Wade,

        410 U.S. 113, 139 (1973)).

              Throughout most of American history in most American jurisdictions, the law

        has recognized the inherent value of the unborn child. That is understandable. An

        abortion prevents all the joy and beauty of life for the aborted child, and not for him

        or her only, but for all the countless children and grandchildren of whom he or she

        may have been the father or mother, grandfather or grandmother. Any attempt to

        draw the line of life later than conception requires making arbitrary distinctions. 7 In



        7
          While some abortion laws before the 19th century limited their application to after
        quickening, as the Court explains, this may well have been a practical limitation
        rather than a philosophical distinction. Dobbs, 142 S. Ct. at 2251-52. Today, medical
        technology allows doctors to find life very early on in the pregnancy.

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        passing the UCPA, West Virginia sought to fulfill the foundational responsibility of

        government, the protection of rights, in an area where the federal government has

        failed to do so. Federal statutes should not be interpreted to interfere with this

        fundamental exercise of state authority without a clear statement of intent to do so

        from Congress.

        II.    GenBioPro’s Claim that the FDA Has Authority to Preempt, and has
               Preempted, State Law on the Issue of Chemical Abortion, Must be
               Rejected Because it Would Constitute the Delegation of a Power to
               Address an Issue of Profound Political Controversy Without a Clear
               Congressional Statement Delegating that Authority.

                The Tenth Amendment embraces the principle of subsidiarity and reserves to

        the States and the people, “[t]he powers not delegated to the United States by the

        Constitution, nor prohibited by it to the states.”    U.S. Const. amend. X. This

        system, federalism, protects the authority of the States from federal imposition

        except in areas in which the Constitution grants the federal government powers. Per

        Article VI, federal law is binding on the States, contrary state law notwithstanding.

        U.S. Const. art. VI, cl. 2. Caution is warranted when state laws are attacked as

        inconsistent with, and thus preempted by, federal law in areas that are traditionally

        left to the states.

               The power to regulate medical practice is a traditional State power.

        Hillsborough Cnty., Fla. v. Automated Med. Labs., Inc., 471 U.S. 707, 715 (1985)

        (finding a “presumption that state and local regulation of matters related to health


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        and safety is not invalidated under the Supremacy Clause”). Where, “the field that

        Congress is said to have pre-empted has been traditionally occupied by the States,”

        the Court starts with the assumption that traditional state powers “were not to be

        superseded by the Federal Act unless that was the clear and manifest purpose of

        Congress.” Id. (internal quotation marks omitted) (quoting Jones v. Rath Packing

        Co., 430 U.S. 519, 525 (1977)).

              Further, States have a legitimate interest in the safety of women and their

        preborn children. This interest is recognized by the Court today and has been for at

        least three decades. See Dobbs, 142 S. Ct. at 2284 (“[States’] legitimate interests

        include respect for and preservation of prenatal life at all stages of development [and]

        the protection of maternal health and safety.”) (citation omitted); Planned

        Parenthood of Southeastern Pennsylvania v. Casey, 505 U.S. 833, 846 (1992). There

        is no enumerated power to regulate healthcare in the Constitution. Congress does

        have the power “[t]o regulate commerce . . . among the several states.” U.S. Const.

        art. I, § 8. Whatever the legitimacy of interpreting this grant of legislative power to

        include regulating drugs like mifepristone, it is clear that there is tension between

        the States’ traditional authority to regulate medical intervention and Congress’s

        power to regulate interstate commerce, a power which it has in part, rightly or

        wrongly, delegated to the FDA and other executive agencies.




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              The major questions doctrine provides a useful lens through which to consider

        whether a claimed interpretation of a federal statute is consistent with government

        authority. In West Virginia v. EPA, Justice Gorsuch in his concurrence found three

        situations in which an agency interpretation triggers the major questions doctrine,

        two of which are relevant here. 142 S. Ct. at 2620-21 (Gorsuch, J., concurring). First,

        there must be a clear statement “when an agency claims the power to resolve a matter

        of great ‘political significance,’ or end an ‘earnest and profound debate across the

        country,’” Id. at 2620 (quoting NFIB v. OSHA, 142 S. Ct. at 665; Gonzales v. Oregon,

        546 U.S. 243, 267 (2006)). Second, agencies may also need a clear statement from

        Congress “when an agency seeks to ‘intrude into an area that is the particular domain

        of state law.’” Id. (quoting Alabama Association of Realtors v. HHS, 141 S. Ct. 2485,

        2489 (2021)). GenBioPro’s interpretation of EMTALA in this case is clearly both

        related to an issue of great political significance and is intended to intrude into a

        particular domain of state law.

              First, GenBioPro’s interpretation is intended to preempt state law in an area

        of great political significance in the United States. The “Court has indicated that the

        [major questions] doctrine applies when an agency claims the power to resolve a

        matter of great ‘political significance’ or end an ‘earnest and profound debate across

        the country.’” Id. at 2620 (internal quotation marks omitted) (quoting NFIB v. OSHA,

        142 S. Ct. at 665). This is precisely what GenBioPro is asking the courts to do for it;


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        interpret FDAAA as settling the profound chemical abortion debate. Abortion is a

        matter of significant political controversy in the United States. As the majority noted

        in Dobbs, “Abortion presents a profound moral issue on which Americans hold

        sharply conflicting views.” 142 S. Ct. at 2240.

              Second, the guidance intrudes into an area that is the particular domain of state

        law. States have a legitimate interest in the safety of women and their preborn

        children. This interest is recognized by the Court today and has been for at least three

        decades. See Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2228, 2284

        (2022) (“[States’] legitimate interests include respect for and preservation of prenatal

        life at all stages of development [and] the protection of maternal health and safety.”)

        (citation omitted); Planned Parenthood of Southeastern Pennsylvania v. Casey, 505

        U.S. 833, 846 (1992). In Dobbs the Court held that rational basis scrutiny applies to

        state laws restricting abortion. Dobbs, 142 S. Ct. at 2283. It recognized that, “A law

        regulating abortion, like other health and welfare laws, is entitled to a ‘strong

        presumption of validity.’” Dobbs, 142 S. Ct. at 2284 (quoting Heller v. Doe, 509

        U.S. 312, 319 (1993)).

              More broadly, regulation of the medical field is a traditional area over which

        States have authority. Because abortion law falls within the category of health and

        welfare regulation, it is within the domain of state regulation. Whatever the scope of

        the interstate commerce clause, it cannot swallow up areas of state authority. If it


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        did, there would have been no reason to enumerate the powers of the federal

        government (it could have been given a general grant of authority) and the

        Constitution would not have been ratified. As a practical matter, too, it is essential

        that States retain this power even where the FDA has engaged in regulation. States

        need the ability to protect their citizens not only from dangerous abortion drugs but

        also from drugs like opioids that are ravaging the populations of many States. If the

        FDA’s regulation of a particular drug preempts States’ regulation of that drug, they

        will be handicapped in their ability to protect those within their jurisdiction.

              Because the FDAAA does not contain a provision explicitly granting authority

        to the FDA to preempt state law, courts should be skeptical of any claim that it does

        preempt state law in this area. That is particularly true given the fact that regulating

        the medical practice is within the realm of traditional state power and because the

        federal government’s authority to regulate that area is only indirect. If Congress had

        granted authority to the FDA to preempt state abortion law, that delegation would be

        subject to constitutional challenge on several grounds. This Court should avoid

        raising those issues by requiring a clear statement before finding that Congress has

        granted such significant power over such a controversial issue to an agency staffed

        by unelected and unaccountable bureaucrats.




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        III.     Mifepristone is a Dangerous Drug that is Deadly for the Unborn and
                 Potentially Deadly or Very Harmful for the Woman Who Takes it, Thus
                 Leading to the Destruction of the Rights of the Former, and the Effective
                 Undermining of the Rights of the Latter.

                 Government exists to protect the fundamental rights of the people. Where the

        federal government fails to do so, it is the responsibility of the States to protect them.

        GenBioPro’s interpretation of FDAAA would turn that statute into one reminiscent

        of the Fugitive Slave Act, forcing States to ignore the fundamental rights of those

        within their jurisdictions. West Virginia, after all, was born of the conviction that all

        people share fundamental human dignity. Abortion is always destructive to the rights

        of the unborn. As discussed above, States have an interest in protecting the rights of

        the unborn, as recognized by the Supreme Court. However, abortion, including

        chemical abortion, is a danger to the wellbeing of mothers who take the drugs as

        well.

                 The FDA approved mifepristone for use as an abortifacient under Subpart H.

        To be approved under Subpart H, a drug must provide a “meaningful therapeutic

        benefit over existing treatments.” 21 CFR § 314.500. There was ample evidence

        prior to the FDA’s approval of mifepristone in 2000 that chemical abortions provided

        no such benefit over the existing procedure, surgical abortions.

                In 1981, human trials of mifepristone took place in Geneva, Switzerland after

        seventeen months of animal research. Congressional Report at 10. Even those initial

        human trials indicated the dangers of mifepristone when used as an abortifacient.
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        Those trials resulted in two unsuccessful abortions out of eleven attempts. Two

        additional women required further medical intervention including, in one case,

        emergency surgery and a blood transfusion. Congressional Report at 10. The next

        round of trials, conducted in several different countries, produced widely varied

        success rates from as low as fifty-four percent (54%) to as high as ninety percent

        (90%). Congressional Report at 10-11. That success rate increased to ninety-four

        percent (94%) in one trial when doctors in Sweden began to administer prostaglandin

        alongside mifepristone, though it remained significantly lower than the ninety-nine

        percent (99%) success rate of surgical abortion at the time. 8 Id.

             After mifepristone was approved in France, 9 a committee of experts reviewed

        data on 30,000 women who had used mifepristone as an abortifacient and found

        numerous significant risks associated with use of the drug. Congressional Report at



        8
           Success was defined as fetal death without the need for further medical
        intervention.
        9
          A French manufacturer handed over the technologies and patent rights to
        Population Council. The plan for this donation was first recommended to president-
        elect Clinton by Ron Weddington (co-counsel with his wife Sarah in Roe v Wade)
        in a 1992 letter where he proposed expanding access to cheap chemical abortions
        “to eliminate the barely educated, unhealthy and poor segment of our country” since
        “26 million food stamp recipients is more than the economy can stand.” Weddington
        JR. Letter to President-To-Be Clinton, Jan 6 1992. In: Rasco C, editor. OA/Box
        OA7455, File Folder: RU-486 [Internet]. Clinton Library; 1992. p. 54–8. Available
        from:
        https://clinton.presidentiallibraries.us/files/original/f8977047aefa0c1f90a24665cab
        f95bc.pdf

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        11-12. Further, the World Health Organization released a study in 1991 in which just

        under three percent (3%) of women with completed abortions and almost thirty

        percent (30%) of those with incomplete abortions “had to be given ‘antibiotic

        therapy to prevent or cure suspected genitourinary infection’ during the six-week

        follow-up period.” Congressional Report at 12, n. 63.

             Writing before mifepristone’s approval, the FDA’s medical reviewer found that

        chemical abortions were of limited value given the short time period during which

        they were available, the need for three visits to a medical facility during the process,

        the need for a follow-up visit to ensure that surgical intervention is not required, and

        because of specific problems with chemical abortion in comparison to surgical

        abortion. Congressional Report at 29-30. In particular, the reviewer noted the higher

        failure rates, greater frequency of symptoms including cramping, nausea, and

        vomiting, and increased blood loss associated with chemical as opposed to surgical

        abortions. Congressional Report at 29-30.

             Further, the FDA Medical Officer’s review found that for women with

        pregnancies up to seven weeks, the original gestational limit approved by the FDA,

        the failure rate was almost eight percent (8%), with the percentage increasing at

        longer gestational periods, up to twenty-three percent (23%) for pregnancies

        between eight and nine weeks. Congressional Report at 31.




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             By 2006, the dangers of chemical abortion had become even more evident than

        they were when the FDA approved the drugs for that use in 2000. Before the House

        Subcommittee on Criminal Justice, Durg Policy and Human Resources, Committee

        on Government Reform in May of 2006, Dr. Donna Harrison testified:

              In my experience as an ob-gyn, the volume of blood loss seen in the
              life-threatening cases is comparable to that observed in major surgical
              trauma cases like motor-vehicle accidents. This volume of blood loss is
              rarely seen in early surgical abortion without perforation of the uterus,
              and it is rarely seen in spontaneous abortion.10

        Dr. Harrison added that no risk factors predicted such hemorrhage and that it was

        life threatening for women without access to immediate medical care. Id. Such

        dangers have been ignored by the FDA in its effort to push mifepristone over the

        past 23 years.

             Information that has become available since the Congressional Report was

        published in 2006 is no more positive. Several studies have shown the medical risk

        associated with the use of chemical abortion. One study found that ten percent (10%)

        of women, after use of chemical abortion, require follow-up medical treatment for

        failed or incomplete abortion,11 and twenty percent (20%) of women who use

        10
           RU-486: Demonstrating a Low Standard for Women’s Health? Hearing before the
        House Subcommittee on Criminal Justice, Drug Policy and Human Resources,
        Committee on Government Reform, 109th Cong. at 142 (May 17, 2006), available
        at    https://advancingamericanfreedom.com/mifepristone-resource-congressional-
        hearing-ru-486-demonstrating-a-low-standard-for-womens-health/.
        11
          Maarit Niinimaki et al., Comparison of rates of adverse events in adolescent and
        adult women undergoing medical abortion: population register based study, BMJ,
                                                 17
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        mifepristone to induce abortions will have an adverse event, including hemorrhaging

        and infections.12 This rate of adverse events is four times greater than the adverse

        event rate of surgical abortion. Id.

             In 2024, adverse events are widely underreported because the FDA only

        requires prescribers to report deaths, not other less-than-lethal adverse events

        associated with mifepristone. In 2000, the FDA approved mifepristone with certain

        safeguards and requirements to decrease the dangers mifepristone could pose to

        women, consistent with Subpart H. See 21 C.F.R. § 314.520. Although compliance

        with those requirements was insufficient to prevent adverse events, they were much

        more stringent than the requirements imposed today. Among those requirements in

        2000, prescribers were obligated to report non-fatal but serious adverse events to the

        drug manufacturer.13 However, beginning in 2016, prescribers need only report

        deaths associated with the drug, not other serious adverse events. 14




        April 20, 2011, at 4.
        12
          Maarit Niinimaki et al., Immediate complications after medical compared with
        surgical termination of pregnancy, 114 Obstetrics & Gynecology 795 (2009).
        13
           Food and Drug Administration, Approved Labeling Text for Mifeprex (Sept. 28,
        2000),
        https://www.accessdata.fda.gov/drugsatfda_docs/label/2000/20687lbl.htm.
        14
           Food and Drug Administration, Risk Evaluation and Mitigation Strategy (March
        2016),    https://www.fda.gov/media/164649/download.      Food      and    Drug
        Administration, Risk Evaluation and Management Strategy (May 2021),
        https://www.fda.gov/media/164651/download.

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             The FDA’s inexplicable slackening of adverse event reporting requirements

        forces researchers to look overseas for data on mifepristone’s harm to women. Even

        recent experience with mifepristone bears out the fact that it continues to be more

        dangerous than surgical abortion, contrary to the requirements of Subpart H. As

        British researcher and medical doctor Calum Miller explains:

                   During the COVID-19 pandemic, a small minority of countries
              permitted abortion providers to send abortion pills—usually
              mifepristone and misoprostol—by post to women after a remote
              consultation by video or telephone (hereafter, “telemedicine” refers to
              either)—that is, without any in-person contact throughout the process.
              This was an unprecedented move since full telemedicine had not been
              studied in legal, experimental conditions prior to this… In the United
              Kingdom… ambulance calls and responses relating to medical abortion
              also increased dramatically between 2018 and 2021, following the
              introduction of [chemical abortion] at home and then full
              telemedicine.15

        Further, British researchers:

              [U]sing [their] rights under the Freedom of Information Act . . . asked
              each of the ten [National Health Service] Ambulance Trusts in England
              to provide data related to the number of emergency ambulance
              responses made when the caller indicated complications arising from
              the use of abortion pills, a combination treatment of mifepristone and
              misoprostol. Data was requested for three time periods: A – during
              2018, when all medical abortions were provided in a clinic; B – during

        15
           Calum Miller, “Telemedicine Abortion: Why It Is Not Safe for Women,” in
        Nicholas Colgrove, ed., Agency, Pregnancy and Persons : Essays in Defense of
        Human Life at 288, 296 (forthcoming, 2023). ProQuest Ebook Central,
        http://ebookcentral.proquest.com/lib/wfu/detail.action?docID=6998328.
        Even the most zealous advocates for mifepristone did not countenance that:
        “Prescribing RU 486 will maintain the same doctor-patient relationship that
        accompanies the use of an antibiotic or any drug.” Lader 1995 at 17.

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                    2019, when women were able to self-administer misoprostol (the
                    second part of the combined treatment) at home, after having received
                    the mifepristone (the first part of the combined treatment) at an abortion
                    clinic; C – from April 2020, when women were able to self-administer
                    both mifepristone and misoprostol at home… Data obtained from five
                    NHS Ambulance Trusts in England, show that emergency ambulance
                    responses for complications arising after a medical abortion are three
                    times higher for women using pills-by-post at home, compared to those
                    who have their medical abortion in a clinic . . . In a related freedom of
                    information investigation, we found that complications arising from the
                    failure of medical abortion treatment result in 590 women presenting at
                    the emergency department of their local NHS hospital in England every
                    month. The treatment failure rate is 5.9%, 1-in-17. 16

                   At the time of the FDA’s initial approval, a woman seeking a chemical abortion

        was required to visit the doctor three times to receive a chemical abortion

        prescription. In 2016, that number of visits dropped to one.17 In 2021, the FDA

        removed the in-person visit requirement altogether, meaning that a woman can

        obtain mifepristone through the mail without in-person examination, sonogram, or

        laboratory analysis.18

                   Prescribing chemical abortion drugs via telemedicine exposes women to

        several risks. One of the most significant of these is a ruptured ectopic pregnancy.


        16
             Id.
         Information on Mifeprex Changes and Ongoing Monitoring Efforts, Government
        17

        Accountability Office at 7 (Mar. 2018) https://www.gao.gov/assets/gao-18-292.pdf.
        18
           Information about Mifepristone for Medical Termination of Pregnancy Through
        Ten Weeks Gestation, U.S. Food and Drug Administration (Mar. 2023)
        https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
        providers/information-about-mifepristone-medical-termination-pregnancy-
        through-ten-weeks-gestation.

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        Ultrasounds, which require an in-person assessment, are critical in identifying

        gestational age and in ruling out ectopic pregnancies. Chemical abortion is

        ineffective in cases of ectopic pregnancy. The current REMS require only that the

        prescriber have the “[a]bility to diagnose ectopic pregnancies,” not that a doctor

        actually assess whether the patient has one. 19

             Finally, telemedicine may not allow for a thorough discussion of the patient’s

        medical history or assessment of her needs, potentially missing important details that

        could impact the procedure’s safety. Telemedicine also leads to uncertainty and the

        inability to confirm that a woman is not being coerced into performing an abortion

        against her will. Further, “We can expect that 1-in-17 women using the abortion pills

        at home, will subsequently need hospital treatment for complications arising from

        the medical abortion treatment failure, presenting with retained products of

        conception and/or hemorrhage.”20

              Abortion, including chemical abortion, also risks harm to the woman’s mental

        health. A comprehensive review of the literature on abortion and mental health found

        that at least some women experienced negative mental health outcomes as a result


        19
           Risk Evaluation and Mitigation Strategy (REMS) Single Shared System for
        Mifepristone    200MG,      Food    and     Drug  Administration    at   1
        https://www.fda.gov/media/164651/download?attachment.
        20
          FOI Investigation into Medical Abortion Treatment Failure, Percuity at 4 (Oct.
        2021)       https://percuity.files.wordpress.com/2021/10/foi-ma-treatment-failure-
        211027.pdf.

                                                  21
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        of their abortions and that “[t]he ability to identify women who are at greater risk of

        negative reactions has resulted in numerous recommendations for abortion providers

        to screen for these risk factors in order to provide additional counseling both before

        an abortion, including decision-making counseling, and after an abortion.” 21

              Given the dangerous nature of mifepristone when used as an abortifacient

        and the FDA’s repeated lessening of the limitations on the drug’s prescription, it is

        entirely reasonable for States like West Virginia to take legislative action to ensure

        that women, as well as their unborn children, are protected.

                                          CONCLUSION

              For the forgoing reasons, this Court should rule for Appellees.




        21
           David C. Reardon, The abortion and mental health controversy: A comprehensive
        literature review of common ground agreements, disagreements, actionable
        recommendations, and research opportunities, 6 Sage Open Medicine 1,
        http://journals.sagepub.com/doi/10.1177/2050312118807624.

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                         Respectfully submitted,

                         /s/ J. Marc Wheat
                         J. MARC WHEAT
                            Counsel of Record
                         ADVANCING AMERICAN FREEDOM, INC.
                         801 Pennsylvania Avenue, N.W.
                         Suite 930
                         Washington, D.C. 20004
                         (202) 780-4848
                         MWheat@advancingamericanfreedom.com

                         Counsel for Amici Curiae




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             CERTIFICATE OF COMPLIANCE WITH FED. R. APP. P. 32(a)

              1. This brief complies with the type-volume limitations of Fed. R. App. P.

        32(a)(7)(B) and Fed. R. App. P. 29(d) because this brief contains 5,397 words,

        excluding the parts of the brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii), as

        calculated by the word-counting function of Microsoft Office 365.

              2. This brief complies with the typeface requirements of Fed. R. App. P.

        32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

        brief has been prepared in a proportionally-spaced typeface using Microsoft Office

        Word in 14-point Times New Roman.

        Dated: April 15, 2024                              /s/ J. Marc Wheat
                                                           J. MARC WHEAT




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                                   CERTIFICATE OF SERVICE

              I hereby certify that on April 15, 2024, I electronically filed the foregoing

        amicus curiae brief with the Clerk of the Court for the United States Court of

        Appeals for the Fourth Circuit by using the CM/ECF system. I certify that all

        participants in the case are registered CM/ECF users and that service will be

        accomplished by the CM/ECF system.


                                                           /s/ J. Marc Wheat
                                                           J. MARC WHEAT




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